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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

                               Case Number: 20-22050-CIV-MORENO

  SISVEL INTERNATIONAL, S.A., SISVEL,
  S.p.A.,

                 Plaintiffs,
  vs.

  BLU PRODUCTS, INC.,

              Defendant.
  _________________________________________/

                   ORDER DIRECTING REASSIGNMENT OF THE CASE

         THIS CAUSE came before the Court upon a sua sponte review of the record. The Court

  was assigned this matter in the ordinary course of random assignment of cases.

         Pursuant to 28 U.S.C. § 371, on July 17, 2020, the undersigned retired from regular

  active service and took senior status. As 28 U.S.C. § 294(b) allows a sitting senior judge to

  perform such judicial duties as he or she is willing and able to undertake, the undersigned refers

  this case back to the Clerk of Court for reassignment to another judge in accordance with the

  blind assignment system to the calendar of an active judge.

         DONE AND ORDERED in Chambers at Miami, Florida, this 30th of September 2020.




                                               FEDERICO A. MORENO
                                               UNITED STATES DISTRICT JUDGE
  Copies furnished to:

  Counsel of Record
